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DJF:CBS:nl

           IN THE UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                   CRIMINAL NO.    f:J8tf2.--15lJ
             v.
                                           ( RAl'YfW ; J.)
JOSEPH R. GALLARDO,

                     Defendant.        ·   (ELECTRONICALLY FILED)

                             INDICTMENT                            FILED
                                                                 HARRISBURG, PA
                                  COUNT 1                         MAY 2 2018

                                 BANK FRAUD
                                                          PER
                                                                    \~(
                  (Title 18, United States Code, Section 1344)

THE GRAND JURY CHARGES:

     L       From on or about June 7, 2011, to on or about August 9,

2011, inthe Middle District of Pennsylvania and elsewhere, the

defendant,

                          JOSEPH R. GALLARDO,

knowingly executed and attempted to execute a scheme and artifice to

defraud Quicken Loans®, a mortgage lending business which financed

and refinanced debt secured by an interest in real estate, and to obtain

monies, funds, assets, and property owned by and under the care,
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custody, and control of, Quicken Loans® by means of false and

fraudulent pretenses, representations, and promises.

                              THE SCHEME

     2.    On or about June 7, 2011, defendant submitted and caused

to be submitted a Uniform Residential Loan Application via telephone

to Quicken Loans® in the name ofL.F.

     3.    According to the Uniform Residential Loan Application, the

purported purpose of the loan was to refinance L.F:'s primary residence

located in Dover, New Jersey.

     4.   ·The Uniform Residential Loan Application requested

$260, 000 in loan proceeds.

     5.    In addition,'in support of the Uniform Residential Loan

Application, defendant submitted to Quicken Loans® a false federal

income tax return purportedly showing dividend, interest or

miscellaneous income L.F. had not reported on the personal income tax

return L.F. actually filed with the IRS.

     6.    Defendant also sent via facsimile a letter to Quicken Loans®

falsely stating that since 2007, L.F. had been receiving $4,400 a month.
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     7.      The Uniform Residential Loan Applicat~on contained

misstatements and misrepresentations as to L.F.'s financial resources

and qualifications, namely, that L.F. received dividends/interest in the

amount of $7,200 per month.

     In violation of Title 18, United States Code, Sections 1344(1),

1344(2), 20(10), and 27.



                                COUNT2

                              BANK FRAUD
                (Title 18, United States Code, Section 1344)

THE GRAND JURY FURTHER CHARGES:

     8.      From on or about June 7, 2011, to on or about August 9,

2011, in the Middle District of Pennsylvania and elsewhere, the

defendant,

                           JOSEPH R. GALLARDO,

knowingly executed and attempted to execute a scheme and artilice to

defraud Quicken Loans®, a mortgage lending business which financed

and refinanced debt secured by an interest inreal estate, and to obtain

monies, funds, assets, and property owned by and under the care,



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custody, and control of, Quicken Loans® by means of false and

fraudulent pretenses, representations, and promises.

                              THE SCHEME

       9.   On or about June 7, 2011, defendant submitted and caused

to be submitted a Uniform Residential Loan Application via telephone

to Quicken Loans® in the name ofR.G.

      10.   According to the Uniform Residential Loan Application, the

purported purpose of the loan was to refinance R.G.'s primary residence

located in Dover, New Jersey.

      11.   The Uniform Residential Loan Application requested

$260, 000 in loan proceeds.

      12.   In addition, in support of the Uniform Residential Loan

Application, defendant submitted to Quicken Loans® a false federal

income tax return purportedly showing dividend, interest or

miscellaneous income R. G. had not reported on the personal income tax

return R. G. actually filed with the IRS.

     13.    The Uniform Residential Loan Application contained

misstatements and misrepresentations as to R.G.'s financial resources




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and qualifications, namely, that he received dividends/interest in the

amount of $5,200 per month.

     In violation of Title 18, United States Code, Sections 1344(1),

1344(2), 20(10), and 27.


                                  COUNT3

                                 BANK FRAUD
                  (Title 18, United States Code, Section 1344)

THE GRAND JURY FURTHER CHARGES:

     14.     From on or about July 11, 2012, to on or about August 12,

2012, in the Middle District of Pennsylvania and elsewhere, the

defendant,    .

                           JOSEPH R. GALLARDO,

knowingly executed and attempted to execute a scheme· and artifice to

defraud Amerisave Mortgage Corporation, a mortgage lending business

which financed and refinanced debt secured by an interest in real

estate, and to obtain monies, funds, assets, and property owned by and

under the care, custody, and control of, Amerisave Mortgage

Corporation by means of false and fraudulent pretenses,

representations, and promises.


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                               THE SCHEME

        15.   On or about July 12, 2012, defendant submitted and caused

to be submitted an online Uniform Residential Loan Application to

Amerisave Mortgage Corporation in the name of L.F.

        16.   According to the Uniform Residential Loan Application, the

purported purpose of the loan was for L.F. to purchase real estate at

1007 Crown Avenue, Scranton, Pennsylvania.

        17.   The Uniform Residential Loan Application requested

$70,400 in loan proceeds and indicated that L.F. intended to repay the

loan.

        18.   The Uniform Residential Loan Application contained

misstatements and misrepresentations as to L.F.'s intent, financial

resources and qualifications, namely that L.F. received dividends/

interest in the amount of $5,000 per month, that L.F.'s current real

estate was valued at $425,000, that L.F. had $50,000 in the bank, and

that L.F. intended to purchase an investment property at 1007 Crown

Avenue, Scranton, Pennsylvania.

        In violation of Title 18, United States Code, Sections 1344(1),

1344(2), 20(10), and 27.


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                                  COUNT4

                                BANK FRAUD
                 (Title 18, United States Code, Section 1344)

THE GRAND JURY FURTHER CHARGES:

        19.   From on or about July 11, 2012, to on or about August 12,

2012, in the Middle District of Pennsylvania and elsewhere, the

defendant,

                           JOSEPH R. GALLARDO

knowingly executed and attempted to execute a scheme and artifice to

defraud Amerisave Mortgage Corporation, a mortgage lending business

which financed and refinanced debt secured by an interest in real

estate, and to obtain monies, funds, assets, and property owned by and

· under the care, custody, and control of, Amerisave Mortgage

Corporation by means of false and fraudulent pretenses,

representations, and promises.

                               THE SCHEME

        20.   On or about July 11, 2012 and July 25, 2012, defendant

submitted and caused to be submitted an online Uniform Residential

Loan Application to Amerisave Mortgage Corporation in the name of

.M.A.

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        21.   According to the U nilorm Residential Loan Application, the

purported purpose of the loan was for M.A to purchase real estate at

1020 Snyder Avenue, Scranton, Pennsylvania.

        22.   The U nilorm Residential Loan Application requested

$70, 660 in loan proceeds and indicated that M.A. intended to repay the

loan.

        23.   The Unilorm Residential Loan Application and supporting

schedules and documentation, contained forged signatures of M.A.

        24.   The Unilorm Residential Loan Application contained

misstatements and misrepresentations as to M.A. 's intent, financial

resources and quahlications, namely M.A.'s current real estate was

valued at $425,000, that M.A. had $50,000 in the bank, and that M.A.

intended to purchase an investment property at 1020 Snyder Avenue,

Scranton, Pennsylvania.

        In violation of Title 18, United States Code, Sections 1344(1),

1344(2), 20(10), and 27.




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                                 COUNT5

                              BANK FRAUD
               (Title 18, United States Code, Section 1344)

THE GRAND JURY FURTHER CHARGES:

     25.   From on or about May 15, 2012, to on or about June 9, 2012,

in the Middle District of Pennsylvania and elsewhere, the defendant,

                        JOSEPH R. GALLARDO,

knowingly executed and attempted to execute a scheme and artifice to

defraud Modern Woodmen Bank, an FDIC insured financial institution

and a mortgage lending business which financed and refinanced debt

secured by an interest in real estate, and to obtain monies, funds,

assets, and property owned by and under the care, custody, and control

of, Modern Woodmen Bank by means of false and fraudulent pretenses,

representations, and promises.

                             THE SCHEME

     26.   On or about May 15, 2012, defendant submitted and caused.

to be submitted an online Uniform Residential Loan Application to

Modern Woodman Bank in the name of M.A.




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        27.   According to the Uniform Residential Loan Application, the

purported purpose of the loan was for M.A to purchase real estate at

1007 Crown Avenue, Scranton, Pennsylvania.

        28.   The Uniform Residential Loan Application requested

$68, 000 in loan proceeds and indicated that M.A. intended to repay the

loan.

        29.   The Uniform Residential Loan Application contained

misstatements and misrepresentations as to M.A. 's intent, financial

resources and qualifications, namely M.A. 's current real estate was

valued at $375,000, that M.A. had $12,000 in the bank, that M.A.

intended to purchase a vacation home at 1007 Crown Avenue, Scranton,

Pennsylvania, and that M.A had made a $17,000 down payment on that

home.

        In violation of Title 18, United States Code, Sections 1344(1),

1344(2), 20(10), and 27.



                                             "A TRUE BILL



                                             FOREPERSON, GRAND JURY

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DAVID J. FREED
UNITED STATES ATTORNEY



By:C11~~SL                              DATE r       1
CHELSEA B. SCHINNOUR
ASSISTANT U.S. ATTORNEY



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